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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SECURITIES AND EXCHANGE COMMISSION, :
                                    :
                       Plaintiff,   :
                                    :
                 v.                 :
                                    :                     Civil Action No. 1:19-cv-08454
TODAY’S GROWTH CONSULTANT, INC.     :
(dba THE INCOME STORE)              :
                                    :
and                                 :
                                    :
KENNETH D. COURTRIGHT, III,         :
                                    :
                       Defendants.  :
                                    :

   RECEIVER’S RESPONSE TO DEFENDANT KENNETH D. COURTRIGHT, III’S
          MOTION FOR TURNOVER/RELEASE OF HIS COMPUTER
                    AND HARD DRIVE [ECF NO. 181]

       Melanie E. Damian, the court-appointed receiver (“Receiver”) in the above-captioned

enforcement action, hereby files this Response to Defendant Kenneth D. Courtright, III’s Motion

for Turnover/Release of His Computer and Hard Drive [ECF No. 181], and in support thereof

states as follows:

       On January 28, 2022, Defendant Kenneth D. Courtright, III (“Courtright”) through his

counsel, Michael I. Leonard, in the criminal proceeding, United States v. Courtright, 20 CR 77

(Judge Kennedy), filed a motion to have his personal computer and hard drive turned over to his

possession because Courtright and his counsel claim to need the computer and hard drive to

prepare for the trial in the criminal proceeding set to begin in August 2022. See ECF No. 181.

Pursuant to an agreement among the parties and Order of this Court, Courtright’s computer and
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hard drive are in the possession, custody and control of Courtright’s former counsel in this

enforcement action. See ECF No. 94.

       The Receiver does not object to Courtright’s former counsel turning over the computer and

hard drive to Courtright’s current counsel, Mr. Leonard. In particular, if this Court is inclined to

grant Courtright’s motion and enter an Order requiring that the computer and hard drive be turned

over, the Receiver would request that Mr. Leonard maintain exclusive possession, custody and

control of those devices and that he ensure that the devices and their contents, including without

limitation all hardware, software, digital files and folders, and meta data, are not altered, changed,

deleted, or manipulated in any way that would compromise their present condition, by any party

including without limitation Courtright. Further, should Courtright need to access the devices and

their contents, the Receiver would request that Mr. Leonard or another representative of his law

firm supervise such access to ensure the devices and their contents are preserved in their present

condition.

       This 7th day of February, 2022.

                                               Respectfully submitted,

                                               DAMIAN & VALORI, LLP
                                               Counsel for Melanie E. Damian, Receiver
                                               1000 Brickell Avenue, Suite 1020
                                               Miami, Florida 33131
                                               Telephone: (305) 371-3960
                                               Facsimile: (305) 371-3965

                                               /s/ Kenneth Dante Murena
                                               Kenneth Dante Murena, Esq.
                                               Florida Bar No. 147486
                                               E-mail: kmurena@dvllp.com

                                               Counsel for Melanie E. Damian,
                                               Court-Appointed Receiver
                                               Generally admitted in the N. Dist. Of Ill.


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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

electronic transmission via this Court’s CM/ECF filing system on February 7, 2022 on all counsel

or parties who have appeared in the above-styled action.



                                                    /s/Kenneth Dante Murena
                                                    Kenneth Dante Murena, Esq.
                                                    Counsel for Melanie E. Damian,
                                                    Court-Appointed Receiver

                                                    Admitted Pro Hac Vice




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